Case 2:21-cr-00038-JDL Document 21 Filed 06/07/21 Pagei1of9 PagelD#: 29

UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

UNITED STATES OF AMERICA )
Vv. Crim. No. 2:21-cr-00038-JDL
NICHOLAS MITCHELL |
AGREEMENT TO PLEAD GUILTY

(WITH STIPULATIONS, APPEAL WAIVER, CARES ACT WAIVER,
AND VERSION OF THE OFFENSE)

 

The United States of America, by and through Donald E. Clark, Acting United States
Attorney for the District of Maine, and Daniel J. Perry, Assistant United States Attorney, and
Nicholas Mitchell (hereinafter "Defendant"), acting for himself and through his counsel, David
Beneman, Esquire, enter into the following Agreement based upon the promises and
understandings set forth below.

1. Guilty Plea/Dismissal of Counts. Defendant agrees to plead guilty to Count Two

 

of the Indictment pursuant to Rule 11 of the Federal Rules of Criminal Procedure (Fed. R. Crim.
P.), at the earliest opportunity requested by the United States and provided by the Court. Count
One charges Defendant with Tampering With a Consumer Product, in violation of 18 U.S.C.
§1365(a). In addition to pleading guilty, Defendant agrees not to contest the version of the
offense set forth in Attachment A to this Agreement, to otherwise comply with all the terms of
this Agreement, and to be sentenced on the charge(s) to which he has agreed to plead guilty.
Further, given the lapse of time since the date of his commission of the offense(s) to which he is
pleading guilty, and the resulting impact of the Coronavirus Disease 2019 (COVID-19)
pandemic on the United States’ ability to prepare the case for trial, Defendant agrees that the

United States would be substantially prejudiced by the withdrawal of his guilty plea.

 
Case 2:21-cr-00038-JDL Document 21 Filed 06/07/21 Page 2of9 PagelD #: 30

2. CARES Act Waiver. Defendant agrees that all court appearances, including his
change of plea hearing and sentencing hearing, may proceed by video-teleconference (“VTC”),
so long as such appearances are authorized by the General Orders of this Court, rule, or statute.
Defendant understands that, under the Constitution, the United States Code, and the Federal
Rules of Criminal Procedure (including Rules 11, 32, and 43), he may have the right to be
physically present at these hearings. Defendant understands that right and, after consulting with
counsel, voluntarily agrees to waive it and to proceed remotely. Defense counsel also joins in
this consent, agreement, and waiver. Specifically, this agreement includes, but is not limited to,
the following:

a. Defendant consents under Section 15002(b) of the CARES Act to proceed

with his change of plea hearing by VTC;

b. Defendant consents under Section 15002(b) of the CARES Act to proceed

with his sentencing hearing by VTC; and

C. Defendant consents under 18 U.S.C. § 3148 and Section 15002(b) of the

CARES Act to proceed with any hearing regarding alleged violations of his

conditions of pretrial release by VTC.

3. Sentencing/Penalties. Defendant agrees to be sentenced on the charge described
above. Defendant understands that the penalties that are applicable to the charges described
above are as follows:

Count Two

A. A term of imprisonment of not more than 10 years;

B. A maximum fine of Two Hundred Fifty Thousand ($250,000) Dollars;

 
Case 2:21-cr-00038-JDL Document 21 Filed 06/07/21 Page 3of9 PagelD#: 31

C. A term of supervised release of not more than 3 years. Defendant understands
that the Defendant’s failure to comply with any of the conditions of supervised
release may result in revocation of supervised release, requiring the Defendant to
serve up to 2 additional years in prison for any such revocation of supervised
release pursuant to 18 U.S.C. §3583.

In addition, defendant understands that a mandatory special assessment of $100.00
applies for the count of conviction which Defendant agrees to pay at or before the time that he
enters a guilty plea.

In addition to the other penalties provided by law, the Court must also order the
Defendant to pay restitution to the victim or victims of the offense, pursuant to 18 U.S.C. § 3663
or §3663A.

4, Version of the Offense. Defendant admits that he is, in fact, guilty of the
offense(s) described in paragraph 1, above, to which he is agreeing to plead guilty. Defendant
and the United States agree to the statement of facts set forth in Attachment A and agree that this
statement of facts is sufficient to provide a factual basis for his plea of guilty to the charge(s)
described in this agreement but is not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that relate to that conduct.

5. Agreements Regarding Sentencing. The parties agree to make the following non-
binding recommendations as to sentencing:

a. The parties agree to recommend that the Court find that the defendant has
accepted responsibility for the offenses of conviction, and that the Court should reduce the

defendant’s Adjusted Offense Level under USSG § 3E1.1. The government reserves the right not
Case 2:21-cr-00038-JDL Document 21 Filed 06/07/21 Page 4of9 PagelD #: 32

to recommend a reduction under USSG § 3E1.1 if, at any time between his execution of this
Agreement and sentencing, the defendant (a) provides materially false information to the
probation officer in respect to the presentence investigation, or (b) provides materially false
information to the Court; or (c) engages in new criminal conduct. The determination of whether
the Defendant has provided materially false information or engaged in new criminal conduct
shall be made by the Court.

b. In addition, because the justice system is facing an unprecedented crisis as a result
of the COVID-19 pandemic, the parties also agree that the government will recommend a three
level variance pursuant to 18 U.S.C. § 3553(a) and as recognition of Defendant’s extraordinary
acceptance of responsibility and his lessening the burden on the court system by: (a) committing
to plead guilty in advance of the normalization of court operations and actually pleading guilty
and being sentenced on the charge to which he has agreed to plead guilty; (b) proceeding by
VTC (unless the Court sua sponte orders otherwise) with subsequent proceedings as discussed in
paragraph 2, above, (c) agreeing to the version of the offense set forth in this Agreement; (d)
agreeing to be bound by all the terms of this Agreement, specifically including those relating to
breach and remedy; and (e) waiving appellate rights as referenced below.

The parties expressly agree and understand that should the Court reject any of the
recommendations of the parties, Defendant will not thereby be permitted to withdraw his plea of
guilty. The parties agree and understand that the Court has the discretion to impose any lawful

sentence.
Case 2:21-cr-00038-JDL Document 21 Filed 06/07/21 Page5of9 PagelD#: 33

6. Appeal Waivers. Defendant is aware that Title 18, United States Code, Section
3742 affords a defendant the right to appeal the sentence imposed. Knowing that, Defendant
waives the right to appeal the following:

A. Defendant’s guilty plea and any other aspect of Defendant’s conviction in
the above-captioned case; and

B. A sentence of imprisonment that does not exceed 57 months.

Defendant’s waiver of his right to appeal shall not apply to appeals based on a right that has been
newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review.

The number of months mentioned in this paragraph does not necessarily constitute an
estimate of the sentence that the parties expect will be imposed.

7. New Criminal Conduct. Defendant agrees that he will not commit any other
federal or state crime.

8. Breach and Consequences of Breach. If Defendant violates or fails to perform

 

any obligations under this Agreement (“a breach”), the United States will be released from its
obligations hereunder, including its obligations to make any sentencing recommendations under
Paragraph 5, and may fully prosecute Defendant on all criminal charges that can be brought
against Defendant. With respect to such a prosecution:

A. The United States may use any statement that Defendant made pursuant to
this Agreement, including statements made during plea discussions, the
version of the offense set forth in Paragraph 4, and plea colloquies, and the
fact that Defendant pleaded guilty, and Defendant hereby waives any
claim under Rule 410 of the Federal Rules of Evidence or Rule 11(f) of
the Federal Rules of Criminal Procedure that such statements and guilty
plea are inadmissible.
Case 2:21-cr-00038-JDL Document 21 Filed 06/07/21 Page 6of9 PagelD #: 34

B. Defendant waives any and all defenses based on the statute of limitations
with respect to any such prosecution that is not time-barred on the date
that this Agreement is signed by the parties.

If the United States chooses to exercise its rights under this paragraph, the determination of
whether Defendant has committed a breach shall be made by the Court upon an appropriate
motion. In a proceeding on such motion, the United States shall have the burden to establish
Defendant’s breach by a preponderance of the evidence.

9, Speedy Trial Waiver. Defendant agrees to waive, and hereby does waive, any and
all rights he might have under the Speedy Trial Act, 18 U.S.C. §§ 3161-64, from the date of the
execution of this Agreement and continuing thereafter through and including the date upon
which sentence is imposed. In the event that the Court determines that Defendant has breached
this Agreement, as set forth in Paragraph 8 of this Agreement, then the waiver described in this
Paragraph shall continue through and including the date on which the Court determines that such
a breach has occurred. Defendant expressly consents to the entry of an Order by the Court
excluding such periods of time from such consideration.

10. ‘Forfeiture. Defendant agrees to waive any claim to, and assist the United States in
effecting the forfeiture or other transfer of, any property that may be subject to forfeiture to the
United States under any law of the United States.

Il. Nalidity of Other Agreements; Signature. This Agreement supersedes any prior
understandings, promises, or conditions between this Office and Defendant. However, in the
event that Defendant fails to enter his guilty plea or is allowed to withdraw his guilty plea

entered hereunder, and the Court determines that Defendant has not breached this Agreement,

then any proffer agreement between the parties shall remain in effect. No additional
Case 2:21-cr-00038-JDL Document 21 Filed 06/07/21 Page 7of9 PagelD#: 35

understandings, promises, or conditions will be entered into unless in writing and signed by all
parties. The signature of Defendant in the space designated signifies his full and voluntary
acceptance of this Agreement.

[ have read this Agreement and have carefully reviewed every part of it. I understand it
and I have voluntarily agreed to it.

pate_ (| 4190 Ad MAM

Nicholas Mitchell, Defendant

I am legal counsel for Nicholas Mitchell. I have carefully reviewed every part of this
Agreement with him. To my knowledge, his decision to enter 1 into this Agreement is an informed
and voluntary one. ~

Date. (y \“4iyoky \ Jes GA Wuess 1S 0 a

David Beneman, Esquire
Attorney for Defendant

 

FOR THE UNITED STATES: Donaid E. Clark
Acting ey States Attorney

:

eo. ALS sf lec
/ . patel Perry /

Approved:

ZL: Assistant U.S. Attorney

   
 

 

Revised August 6, 2020

 
Case 2:21-cr-00038-JDL Document 21 Filed 06/07/21 Page 8o0f9 PagelD #: 36

Attachment A
UNITED STATES DISTRICT COURT
DISTRICT OF MAINE
UNITED STATES OF AMERICA )
)
v ) Criminal No. 2:21-cr-00038-JDL
)
NICHOLAS MITCHELL )

GOVERNMENT’S VERSION OF THE OFFENSE

Had the case proceeded to trial, the Government would produce evidence that would
establish beyond a reasonable doubt that on October 5, 2020, this defendant knowingly tampered
with pizza dough by placing razor blades into the dough that was sold to consumers at a Saco
supermarket.

The evidence would include electronic surveillance footage from the supermarket,
eyewitness testimony, and photographs of the dough and the razor blades.

The evidence would establish the following facts:

Defendant was an employee of a Maine company that manufactured pizza doughs that
were sold to consumers through a supermarket chain in Maine and other states. In approximately
June 2020, the Defendant’s employment was terminated.

On October 5, 2020, Defendant entered the Saco store of the supermarket chain. He
proceeded directly to the refrigerator case where the pizza doughs were located. Defendant
proceeded to handle a number of the pizza doughs and remained in the vicinity of the refrigerator
case for approximately seven minutes. Defendant then exited the store without stopping at any
other section nor did Defendant make a purchase at the store. Defendant was in the store for

approximately nine minutes.
Case 2:21-cr-00038-JDL Document 21 Filed 06/07/21 Page9of9 PagelD #: 37

Three patrons purchased pizza doughs within a couple of hours of the Defendant’s
activity at the refrigerator case. When the patrons subsequently opened the pizza dough, they
discovered razor blades secreted inside the pizza dough.

When the store learned of the tainted product, store personnel removed the remaining
pizza doughs from the refrigerator case. During this process, a store employee discovered
another dough with a razor blade in it.

Store loss prevention personnel reviewed the surveillance footage that captured the
activity at the refrigerator case, and they observed that the only person who handled numerous
doughs or remained in the vicinity of the refrigerator case for an extended time on October 5,
2020 was the Defendant.

Dated May 24, 2021 Donald E. Clark

Acting United States Attorney

/s/Daniel J. Perry

Daniel J. Perry

Assistant United States Attorney

United States Attorney’s Office

100 Middle Street, East Tower, 6 Floor
Portland, ME 04101

(207) 780-3257
